   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 1 of 20 PageID #:399




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 YESENIA GALVAN,

              Plaintiff,
                                                    No. 24 CV 3854
         v.
                                                    Judge Georgia N. Alexakis
 CITY OF CHICAGO, DEPUTY CHIEF
 ADNARDO GUTIERREZ, SGT. ANTHONY R.
 STRAZZANTE, SGT. JAMES KURTH, AND
 COMMANDER MELVIN W. BRANCH,

              Defendants.

                           MEMORANDUM OPINION AND ORDER

      Plaintiff Yesenia Galvan, a woman, is a patrol officer with the Chicago Police

Department (“the Department”). She alleges that she became unwillingly embroiled

in an interpersonal dispute between coworkers after transferring to a new unit and

that, as a result, she was discriminated against on the basis of her sex and then

retaliated against for reporting that discrimination. In May 2024, Galvan sued the

City of Chicago (“the City”) and several individual officers (collectively “the

defendants”), alleging that her treatment violated Title VII of the Civil Rights Act of

1964, the Equal Protection Clause of the Fourteenth Amendment, see 42 U.S.C.

§ 1983, and Illinois whistleblower and defamation laws.

      The defendants now move to dismiss the complaint. [39]. For the following

reasons, that motion is granted.
      Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 2 of 20 PageID #:400




I.       Legal Standards

         To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),

a plaintiff must allege facts sufficient “to raise a right to relief above the speculative

level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). A court must accept

the complaint’s factual allegations as true and draw all reasonable inferences in the

plaintiff’s favor (as the Court does in the section that follows), but it need not accept

legal conclusions or “threadbare recitals” supported by “mere conclusory statements.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

II.      Background

         Galvan joined the Department in December 2018. [31] ¶ 2. In September 2023,

Galvan was transferred to Unit 214 in Area 4 of the 11th Police District. Id. ¶ 19.

Shortly after Galvan’s arrival, two other female officers in Unit 214 had a verbal

altercation significant enough that defendant Deputy Chief Adnardo Gutierrez

convened a meeting with certain 11th District employees—including Galvan—to

discuss the incident.1 Id. ¶¶ 20–21.

         Gutierrez asked meeting participants their opinions regarding the incident, in

particular about “the ongoing issues involving female patrol officers working for Unit

214 and the 11th District.” Id. ¶ 23. (The complaint does not explain the nature of

these issues.) Gutierrez asked Galvan her opinion, and she responded: “I do not have

problem with either side and [] I look forward to working with everyone” and “I’m not

exactly sure what is going on but [] maybe it was some miscommunication.” Id. ¶ 24.


1 The operative complaint does not relate the cause of the verbal altercation, but the Court

does not understand that to be relevant to evaluating Galvan’s claims.

                                             2
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 3 of 20 PageID #:401




       Galvan says that she was then “ostracized for failing to side with either of the

two officers involved in the verbal altercation – where the verbal altercation involved

ongoing issues between female patrol officers working for Unit 214 and the 11th

District.” Id. ¶ 25. This ostracization included nondefendant Officer Ramona Robles

declining to train Galvan in timekeeping in October 2024 because Robles did not want

Galvan “in [her] shit.” Id. ¶ 26. Similarly, in late October or early November of 2023,

Officer Gladys De Leon—one of the officers involved in the verbal altercation, but also

a nondefendant in this action—”walked up to [Galvan] in a physically threatening

manner and slammed papers on [Galvan’s] desk,” causing Galvan to believe De Leon

intended to strike her. Id. ¶¶ 28–29. When Galvan related this mistreatment to

Gutierrez, Gutierrez told Galvan she was “’soft for letting a bunch of girls get to her’”

and, as Galvan characterizes his statements, “indicated that she needed to act more

like a man.” Id. ¶ 32 (emphasis in original).2 Gutierrez did not reprimand any of the

employees who mistreated Galvan. Id.

       The apparent ostracization continued after Galvan’s report to Gutierrez. In

December 2023, Galvan was informed that an Officer Sylvia Rodriguez would be

observing Galvan at work, seemingly full time. Id. ¶¶ 33–34. And that same month

Robles “sarcastically asked Plaintiff [if] she wanted to work for Commander Davina

Ward,” which confused Galvan. Id. ¶¶ 35–36. The resulting work-related stress led


2 It is not clear whether Gutierrez actually used the words “act more like a man” or whether

these words simply reflect Galvan’s understanding of Gutierrez’s comments. In her
complaint, Galvan places quotation marks around the word “soft” when she describes
Gutierrez’s comments. E.g., ¶¶ 32, 51, 66, 73, 78. Galvan does not do the same with the phrase
“act like a man.” Whether Gutierrez actually used the words “act like a man,” though, does
not affect the Court’s resolution of defendants’ motion.

                                              3
    Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 4 of 20 PageID #:402




Galvan to experience anxiety, sleep issues, and weight loss. Id. ¶¶ 37–38. By January

3, 2024, the circumstances were bad enough that Galvan requested a transfer from

Unit 214, though Galvan identified a long commute time and childcare as her reasons

for the transfer request. Id. ¶ 39. While these were legitimate concerns for Galvan,

she was “too afraid to identify the other reasons she wanted a transfer,” which were

“that she felt ostracized and harassed by other police department employees after she

refused to take sides relative to the verbal altercation.” Id. ¶¶ 40–42.

       On January 13, 2024, Robles again confronted Galvan and expressed

dissatisfaction at Galvan’s decision to remain neutral. Id. ¶ 43. Robles then informed

Galvan that Robles had told Gutierrez that Galvan “gotta go,” meaning she Robles

wanted Galvan transferred to another unit. Id. ¶ 44. During the same conversation

Robles told Galvan that Gutierrez had said that “maybe this will teach Galvan

who[se] side her loyalty is with.” Id. ¶ 45. De Leon overheard the exchange with

Robles and told Galvan that “[i]f you’re neutral, you’re against us” and that she was

surprised that Galvan “had lasted this long.” Id. ¶¶ 47–48. De Leon also asked

Galvan if she was “going to quit.”3 Id. ¶ 49.

       On January 23, 2024, Galvan met with defendant Sergeant James Kurth4 to

report her feelings of ostracization stemming from her neutrality after the verbal

altercation. Id. ¶¶ 52–53. Galvan later had similar conversations with Gutierrez and


3 Galvan also says that she started looking for a different position at a different unit “as a

result of” the mid-January 2024 conversations, though does not explain how this fits with her
allegation that she submitted transfer paperwork on January 3, 2024. [31] ¶ 50.
4 This portion of the complaint refers to “Sergeant James Furth” but the Court understands

this to be a scrivener’s error.

                                              4
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 5 of 20 PageID #:403




nondefendant Lieutenant Nicholas Duckhorn, explaining that she was being

harassed and ostracized due to her neutrality in the verbal dispute. Id. ¶¶ 54–55. In

her meeting with Gutierrez, Galvan further related her January 13, 2024

conversations with Robles and De Leon. Id. ¶ 56. Gutierrez “downplayed [Galvan’s]

concerns and sarcastically stated that this is just what happens in an all women

environment and that [Galvan] should get used to it,” and asked Galvan if she was

“going to let them win?” Id. ¶¶ 57–58. Gutierrez also told Galvan he was disappointed

that Galvan allowed Robles and De Leon to “get to” her. Id. ¶ 60. Galvan then asked

Gutierrez if she could transfer to the 7th District to get away from the harassment,

which Gutierrez agreed to. Id. ¶¶ 61–62.

      Galvan prepared a letter documenting her transfer request, which Gutierrez

signed. Id. ¶¶ 63–64. Despite granting the request, Gutierrez called a staff meeting

on January 25, 2024, where “he told everyone in attendance that Galvan’s complaint

about harassment and being ostracized as a result of her taking a neutral position

regarding the incident between Officers Robles and De Leon should never have been

brought to his attention.” Id. ¶ 65. Gutierrez then rescinded Galvan’s request to

transfer to the 7th District and called her “soft” for seeking the reassignment, which

Galvan understood to imply that she was being “soft” because she was a woman. Id.

¶ 66. De Leon realized that Galvan had reported her to Gutierrez and began yelling

at Galvan, while Gutierrez walked away. Id. ¶ 68. Sergeant Kurth then instructed

Galvan, De Leon, Robles, and another officer to discuss the situation in another room,




                                           5
    Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 6 of 20 PageID #:404




where Robles and De Leon denied making threatening statements to Galvan. Id.

¶¶ 69–70.

       After the meeting with Kurth, Galvan was asked to visit Gutierrez. Id. ¶ 71.

When Galvan arrived at his office, Gutierrez “yelled at her for signing his name to

the cover letter that [Galvan] prepared in conjunction with the [transfer] approval

letter that Deputy Chief Gutierrez had actually signed with his own hand.” Id.

Galvan was surprised by Gutierrez’s reaction “because it was commonplace for her

department and unit to sign certain documents on behalf of superiors” with the

superior’s authorization, and Galvan “merely signed Deputy Chief Gutierrez’s name

on a cover letter with his permission – after Deputy Chief Gutierrez had already

signed the transfer letter.” Id. ¶ 72. During this same exchange, Gutierrez said

several times that Galvan was “soft for letting the girls get to you” and that her

complaints about harassment and ostracization should not have reached him. Id.

¶¶ 73–74. Gutierrez also told Galvan that he was rescinding her transfer to the 7th

District. Id. ¶ 75.

       Galvan then requested a transfer to the 3rd District, even though this “would

cause her to lose her administrative position and possibly return to patrol work in a

high-crime area.” Id. ¶ 77. Gutierrez agreed to the transfer to the 3rd District, though

again told Galvan that she had been “soft for letting a bunch of girls get to her” and

“indicated that she needed to act more like a man.” Id. ¶ 78 (emphasis in original).5



5 Again, it is not clear whether Gutierrez actually used the words “more like a man” or
whether these words simply reflect Galvan’s understanding of Gutierrez’s comments. See
supra footnote 2.

                                           6
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 7 of 20 PageID #:405




Galvan believes that Gutierrez “expected [Galvan] to argue and verbally push back

at her tormentors – as is a normal occurrence among male police officers.” Id.

      Galvan subsequently filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”), on February 7, 2024, id. ¶ 16, or

January 25, 2024, id. ¶ 79. In either case, Galvan acknowledged that she “digitally

signed” the EEOC charge on February 7, 2024, and emailed defendant Sergeant

Anthony Strazzante a document reflecting the charge on February 15, 2024. Id.

¶¶ 94–95.

      In the meantime, Galvan returned to the 3rd District on February 1, 2024. Id.

¶ 82. While Galvan had requested the transfer, her hours were also changed. Instead

of the second watch, which she had understood she would keep when she had been

slated to transfer to the 7th District, she was now assigned to the third watch, which

Galvan understood to be “form of punishment for complaining about how other

officers in her prior unit had been ostracizing and harassing her.” Id. ¶¶ 80–81. The

third watch (1 p.m. to 10:30 p.m.) is considered a less desirable assignment than the

second watch (6 a.m. or 7 a.m. to 2:30 p.m. or 3:30 p.m.). Id. ¶ 83. In addition to

making it more difficult for Galvan to see her young child, the third watch “is also a

more dangerous timeslot given that [it] takes place during the evening hours.” Id.

¶ 85. (Galvan does not explain the nature of the danger; she also does not state

whether she returned to patrol work upon her transfer.) Galvan alleges that

defendant “Commander Melvin Branch and/or Defendant Sgt. James Kurth (at the

direction of Deputy Chief Gutierrez or someone designated by him)” made the watch



                                          7
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 8 of 20 PageID #:406




assignment “in retaliation for [Galvan] complaining about sex discrimination.” Id.

¶ 81.

        At some point in January 2024—Galvan does not say when—Kurth and

Gutierrez initiated an Internal Affairs investigation into Galvan’s initial transfer

paperwork. Id. ¶ 87. Galvan alleges the investigation was “bogus” and based on a

false claim that she had forged Gutierrez’s signature without his permission to do so.

Id. Galvan contends that she did in fact have permission to sign on Gutierrez’s behalf.

Id. ¶ 88. On February 2, 2024—after her transfer to the 3rd District—Galvan filed a

departmental complaint about the mistreatment she had suffered from Gutierrez and

others. Id. ¶ 92. She opened another departmental complaint on February 7, 2024,

regarding her assignment to the third watch. Id. ¶ 93.

        On March 7, 2024, Strazzante initiated an investigation to determine if Galvan

had filed her department complaints in retaliation for the forgery investigation. Id. ¶

97. Galvan alleges this new investigation was also “bogus” and itself retaliatory.

Id. On March 8, 2024, Strazzante interviewed Galvan in regard to her complaint

about the third watch assignment. Id. ¶ 96. At this point Strazzante knew of the

EEOC charge. Id. Strazzante interviewed Galvan again on May 21, 2024, where he

accused her of destroying an email related to his earlier investigation. Id. ¶ 98.

Galvan denies destroying any relevant emails and alleges Strazzante made the

accusation “out of spite after he had learned of the filing of Plaintiff’s EEOC charge.”

Id. ¶¶ 98–100.




                                           8
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 9 of 20 PageID #:407




       Galvan sued the City, Gutierrez, Strazzante, Kurth, and Branch on March 10,

2024. [1]. On July 23, 2024, Galvan was “stripped of her police powers” and

surrendered her handgun, badge, and police hat. Id. ¶ 101. Defendants’ given reason

for this action was Galvan’s alleged forgery of Gutierrez’s signature, but Galvan

alleges this explanation was “totally false and pretextual” and she was actually

stripped of her police powers because of her departmental complaints, EEOC charge,

and the instant lawsuit. Id.

       In her operative complaint, Galvan alleges that her treatment at Unit 214 and

during the subsequent transfer constitute sex and/or gender discrimination under

Title VII and the Equal Protection Clause of the Fourteenth Amendment of the

United States Constitution, and that the City has engaged in a widespread pattern

and practice of sex discrimination against female officers. Id. ¶¶ 127–128, 140–143,

151–160; see Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658 (1978).

Galvan further claims that she was retaliated against for reporting her harassment

and ostracization to Department leadership and filing her EEOC complaint, and that

such retaliation is also a widespread pattern and practice within the Department. Id.

¶¶ 130–138; 145–46; 148–49. Finally, Galvan claims that the forgery investigation

against her violated the Illinois Whistle Blower Act and Illinois defamation law. Id.

¶¶ 161–179. Defendants move to dismiss all counts. [39], [40].

III.   Analysis

       A.    Sex Discrimination

       Galvan’s claims of discrimination under Title VII and § 1983 are evaluated

under the same standard. See Terry v. Gary Cmty. Sch. Corp., 910 F.3d 1000, 1007

                                         9
  Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 10 of 20 PageID #:408




(7th Cir. 2018). To prove her claim under either theory, Galvan “must present

sufficient evidence that she was a member of a protected class, she performed

reasonably on the job in line with the employer’s legitimate expectations, she was

subjected to an adverse employment action, and similarly situated employees of the

opposite sex were treated more favorably.” Lauderdale v. Illinois Dep’t of Hum. Servs.,

876 F.3d 904, 910 (7th Cir. 2017).

      Galvan’s discrimination claims run aground at the latter two requirements. An

adverse employment action involves “some harm respecting an identifiable term or

condition of employment.” Thomas v. JBS Green Bay, Inc., 120 F.4th 1335, 1337 (7th

Cir. 2024) (quoting Muldrow v. St. Louis, 601 U.S. 346, 355 (2024). To meet this

element, Galvan relies on Gutierrez’s comments that Galvan was “soft for letting a

bunch of girls get to her” and Galvan’s transition to the third watch. [48] at 9–12.

      Galvan argues that “Gutierrez’s comments were discriminatory in nature –

where he was treating [Galvan] differently because of her gender and the manner in

which she responded to her tormentors.” [48] at 10 (emphasis in original). But

different treatment is not by itself “harm respecting an identifiable term or condition

of employment.” Thomas, 120 F.4th at 1337. As the Supreme Court wrote in

Muldrow, 601 U.S. at 355: “‘Discriminate against’ means treat worse, here based on

sex.” Although Galvan alleges she was treated poorly by Gutierrez, she does not

actually allege that she was “treat[ed] worse” by him, relative to how Gutierrez

treated any other officer. Id.




                                          10
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 11 of 20 PageID #:409




       Galvan relies on Petrosino v. Bell Atl., 385 F.3d 210, 224 (2nd Cir. 2004), and

Sebold v. City of Middletown, No. CIV. 305-CV-1205 AHN, 2007 WL 2782527 (D.

Conn. Sept. 21, 2007), to support the contention that Gutierrez’s comments were a

materially adverse change in her employment conditions, but neither case helps. For

one thing, both cases involve hostile workplace claims, and in responding to

defendants’ motion to dismiss, Galvan makes no argument that Gutierrez’s conduct

was “severe or pervasive to a degree that altered the conditions of employment and

created a hostile or abusive work environment.” See Robinson v. Perales, 894 F.3d

818, 828 (7th Cir. 2018). Galvan has thus waived, or at least forfeited, any hostile

workplace theory. See Hernandez v. Cook Cnty. Sheriff’s Off., 634 F.3d 906, 913 (7th

Cir. 2011) (“It is well established in our precedents that ‘skeletal’ arguments may be

properly treated as waived.”).6

       Further, the conduct at issue in both Petrosino and Sebold was substantially

worse than that described by Galvan. See, e.g., Petrosino, 385 F.3d at 224 (plaintiff’s

sexual assault by male coworker subject of office jokes and graffiti); Sebold, 2007 WL

2782527, at *11 (female plaintiff alleged supervisor “publicly belittled her, retaliated

against her with baseless discipline, physically intimidated her, and falsely accused




6 Galvan seeks to rely on Robinson v. City of Chicago, et al., 24 CV 3329, Dkt. 42 (N.D. Ill.

Feb. 19, 2025), which she submitted as supplemental authority, well after she filed her initial
response to defendants’ motion to dismiss. [62]. In Robinson, however, the plaintiff squarely
teed up and addressed a hostile work environment claim—both in her complaint and in her
original response to defendants’ motion to dismiss. See, e.g., 24 CV 3329, Dkt. [1] ¶ 12
(alleging that defendants “discriminated against Robinson by creating a hostile work
environment”); id. ¶ 13 (likening “[t]he work environment at the Chicago Police Department”
to “an old boys club” and “a fraternity house”); see also id. ¶¶ 17–18; 24 CV 3329, Dkt. 25 at
3–6.
                                              11
  Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 12 of 20 PageID #:410




her of leaking information in a manner that caused her to have an anxiety attack …

his hostility … continued for more than three years.”). Although the Seventh Circuit

has cautioned that it can be “premature at the pleadings stage to conclude just how

abusive [a] work environment was,” see Huri v. Office of the Chief Judge of the Circuit

Court of Cook County, 804 F.3d 826, 834 (7th Cir. 2015), a plaintiff’s allegations must

still plausibly rise to the level of a hostile work environment. In Huri, plaintiff’s

allegations of anti-Muslim, anti-Arab discrimination by her employer passed muster

where she pointed to “screaming, [Christian] prayer circles, social shunning, implicit

criticism of non-Christians, and uniquely bad treatment of Huri and her daughter,”

including prohibiting plaintiff Huri’s daughter from waiting for plaintiff in the lobby

unlike the treatment of non-Arab, non-Muslim children of Huri’s co-workers. Id. at

830, 834. See also, e.g., Robinson v. City of Chicago, et al., 24-cv-3329, Dkt. 42 (Feb.

19, 2025), at 1 (““Plaintiff alleges that Defendants created a hostile work environment

by tolerating a wide range of inappropriate behavior, including men leering at and

undressing in front of women, making derogatory and inappropriate comments about

women, and in one instance aggressively grabbing Plaintiff’s arm.”).

      Galvan’s allegations regarding Gutierrez’s statements that she was “soft”

suffer by comparison. See, e.g., Garrick v. Moody Bible Inst., 494 F. Supp. 3d 570, 579

(N.D. Ill. 2020) (plaintiff’s allegations that coworkers ridiculed her and disparaged

her intelligence and clothes insufficient to state hostile work environment claim, even

if the comments were “undoubtedly callous, ignorant, and unpleasant”); Adam v.

Obama for Am., 210 F. Supp. 3d 979, 991 (N.D. Ill. 2016) (alleged racial harassment



                                          12
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 13 of 20 PageID #:411




against intern, including exclusion from group activities, being laughed at, having

hair pulled, and skin touching, insufficient). “[O]ccasional vulgar language, and

coarse, rude, or boorish behavior will not amount to a hostile work environment”

unless the behavior is “so pervasive or severe as to interfere with an employee's work

performance,” something Galvan does not allege. Brooks v. Avancez, 39 F.4th 424,

441 (7th Cir. 2022). Galvan has therefore not pleaded facts that would allow the Court

to reasonably infer that Gutierrez’s statements were an adverse employment action.

       To support the argument that her transfer to the third watch was an adverse

action, Galvan cites Spalding v. City of Chicago, 24 F. Supp. 3d 765 (N.D. Ill. 2014).

[48] at 11. But Spalding involved a First Amendment retaliation claim and thus

applied a different legal standard: whether the plaintiff suffered “a deprivation likely

to deter free speech.” 24 F. Supp. 3d at 775 (quoting Peele v. Burch, 722 F.3d 956, 959

(7th Cir.2013)). Further, the Spalding defendants conceded that element, so it was

not addressed by the court. Id.

       After Muldrow, courts no longer consider whether the alleged harm meets

some threshold of materiality or severity, but merely whether there was “some harm.”

See Thomas, 120 F.4th at 1336–37 (“Decisions requiring allegations of “significant”

or “material” injury did not survive Muldrow”). Here, Galvan alleges that the shift

change makes her job more dangerous and makes it more difficult to see her young

child. This is sufficient to establish an adverse action under Muldrow. See id. at 1337

(“[I]nability to care for a child is a deeply felt loss for all parents.”).




                                              13
  Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 14 of 20 PageID #:412




      But Galvan’s complaint still does not establish that “similarly situated

employees of the opposite sex were treated more favorably.” Lauderdale, 876 F.3d at

910. For example, Galvan alleges Gutierrez treated her “worse than similarly

situated male police officers who have been dragged into office-politics where Deputy

Chief Gutierrez expected [Galvan] to argue and verbally push back at her tormentors

– as is a normal occurrence among male police officers.” [31] ¶ 78. But Galvan does

not identify any male officers who received better treatment than she did, and the

Court need not accept “threadbare recitals” supported by “mere conclusory

statements.” Iqbal, 556 U.S. at 678. Even setting that issue aside, Galvan’s complaint

does not permit the Court to reasonably infer that Guitierrez had different behavioral

expectations of female officers than male officers. If Gutierrez expected Galvan to not

be “soft” and to behave more “like a man,” then presumably that was also his

expectation for male officers. Such an expectation might be antiquated and sexist

(across the board), but it would not be discriminatory. Put another way: There is

nothing in the complaint that would allow the Court to infer that a similarly situated

male officer who was “letting a bunch of girls get to [him],” [31] ¶ 78, would have been

given a more favorable assignment.

      Galvan thus has not pleaded facts that would allow the inference that any

adverse action she experienced was on the basis of her sex and has thus not

sufficiently alleged discrimination under either Title VII or the Fourteenth

Amendment.




                                          14
  Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 15 of 20 PageID #:413




      B.     Retaliation

      Galvan also brings claims of retaliation under Title VII. For a Title VII

retaliation claim, Galvan must show that “(1) she engaged in protected activity; (2)

she suffered an adverse employment action; and (3) a causal connection exists

between the two.” Rozumalski v. W.F. Baird & Assocs., Ltd., 937 F.3d 919, 924 (7th

Cir. 2019) (cleaned up). “Protected activity” is “some step in opposition to a form of

discrimination that the statute prohibits.” Ferrill v. Oak Creek-Franklin Joint Sch.

Dist., 860 F.3d 494, 501 (7th Cir. 2017). The “key question” in establishing the third

element, causation, is “whether a reasonable juror could conclude that there was a

causal link between the protected activity or status and the adverse action.”

Rozumalski, 937 F.3d at 924 (citing Ortiz v. Werner Enterprises Inc., 834 F.3d 760,

765–66 (7th Cir. 2016)).

      Galvan identifies three protected activities: filing her EEOC charge on

February 7, 2024; filing her departmental complaints on February 2 and February 7,

2024; and filing this lawsuit. [48] at 12–13. While the EEOC charge and this lawsuit

are undoubtedly protected activities for the purpose of Title VII, see Carlson v. CSX

Transp., Inc., 758 F.3d 819, 828 (7th Cir. 2014), it is not clear from the face of the

complaint that the departmental complaints involved “opposition to a form of

discrimination [Title VII] prohibits.” Ferrill, 860 F.3d at 501. The February 2

complaint is described as “document[ing] the mistreatment [Galvan] has suffered at

the direction of Deputy Chief Adnardo Gutierrez and others.” [31] ¶ 92. The February

7 complaint “document[ed] [Galvan] being assigned to the third watch, as a result of

her complaining about how Deputy Chief Gutierrez, Sgt. Anthony R. Strazzante and
                                         15
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 16 of 20 PageID #:414




Sgt. Kurth had retaliated against her.” Id. ¶ 93. But, as discussed above, Galvan has

not alleged facts that would allow the Court to conclude the alleged mistreatment

underlying the complaints was on the basis of sex. Galvan has therefore not

sufficiently alleged that these departmental complaints are protected activity for the

purpose of Title VII.

       Galvan’s complaint also fails to causally connect the EEOC charge or lawsuit

to any adverse action. For one thing, even if the Court concludes the forgery

investigation and Galvan’s transfer and new schedule constitute adverse actions—an

issue the Court does not reach—the forgery investigation began in January 2024, and

Galvan’s transfer and new schedule came on February 1, 2024, before either the

EEOC charge or this lawsuit.7 Galvan argues that the July 23, 2024 suspension of

her police powers was an adverse employment action because she was then

“disqualified for earning overtime opportunities, promotions, and bidding for other

job openings,” [31] ¶ 101. And, indeed, denial of overtime pay can constitute an

adverse employment action. See Formella v. Brennan, 817 F.3d 503, 511 (7th Cir.

2016). But Galvan alleges no facts that plausibly connect her July suspension to

either the February EEOC charge or May lawsuit. Galvan asserts that the reason

given for losing her police powers—that she forged Gutierrez’s signature—was

“totally false and pretextual.” [31] ¶ 101. But the forgery investigation that resulted

in the suspension started before either the EEOC charge or the lawsuit, so neither




7 Neither the forgery investigation nor the new schedule could have been prompted by the

departmental complaints either, the first of which was filed on February 2, 2024.

                                            16
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 17 of 20 PageID #:415




could have motivated the investigation. Galvan also gestures at a suspicious timing

argument. [48] at 12. But while “suspicious timing” is the sort of circumstantial

evidence that can potentially “supply the causal link,” Rozumalski, 937 F.3d at 924

(cleaned up), the months-long gap between the protected activity and the suspension

here does not by itself support an inference of retaliation, see Harper v. C.R. England,

Inc., 687 F.3d 297, 309 (7th Cir. 2012) (“[E]vidence regarding suspicious timing,

without more, is generally insufficient to support a reasonable inference of

retaliation.”); see also Abrego v. Wilkie, 907 F.3d 1004, 1015 (7th Cir. 2018) (47-day

gap between protected activity and adverse action did not allow inference of

causation).

       Finally, to the extent Galvan argues that defendants violated City or

Department policy in retaliating against her, see [31] ¶¶ 103–15, these policy

violations cannot independently provide the basis for a federal claim. See Glisson v.

Indiana Dep’t of Corr., 849 F.3d 372, 380 (7th Cir. 2017) (en banc) (“Nothing in the

U.S. Constitution required” state prison medical provider follow departmental

policies).

       C.     Monell Claims

       Galvan also asserts Monell claims against the City for both sex discrimination

and retaliation. [48] at 14–15. To succeed on Monell claims, Galvan “must ultimately

prove three elements: (1) an action pursuant to a municipal policy, (2) culpability,

meaning that policymakers were deliberately indifferent to a known risk that the

policy would lead to constitutional violations, and (3) causation, meaning the

municipal action was the “moving force” behind the constitutional injury.” Hall v.
                                          17
   Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 18 of 20 PageID #:416




City of Chicago, 953 F.3d 945, 950 (7th Cir. 2020). To establish the existence of a

municipal policy, Galvan must show that her “constitutional injury was caused by (1)

the enforcement of an express policy, (2) a widespread practice that is so permanent

and well settled as to constitute a custom or usage with the force of law, or (3) a person

with final policymaking authority.” Wragg v. Vill. of Thornton, 604 F.3d 464, 467 (7th

Cir. 2010).

      But, as discussed above, Galvan has not alleged facts that allow an inference

of any constitutional violation, so there is no basis for a Monell claim. See Sallenger

v. City of Springfield, Ill., 630 F.3d 499, 504 (7th Cir. 2010) (“[A] municipality cannot

be liable under Monell when there is no underlying constitutional violation by a

municipal employee.”).

      Galvan’s Monell theory runs into a second problem. Galvan does not allege any

express policy. Instead, as defendants note, Galvan relies on two other ongoing

lawsuits filed by female police officer in Chicago to establish that there is a

widespread practice of discrimination and retaliation. [40] at 14–15; [31] ¶¶ 116–117.

But “[a] lawsuit is an allegation. So pointing to other lawsuits simply establishes that

other people have made accusations against” the City, not that any practice exists.

Arquero v. Dart, 587 F. Supp. 3d 721, 730 (N.D. Ill. 2022). This is especially true when

as here, there has been no finding of liability in the cases relied upon. Livingston v.

City of Chicago, No. 16 C 10156, 2024 WL 245214, at *11 (N.D. Ill. Jan. 22, 2024).

      Finally, Galvan has not alleged that any person “with final policymaking

authority” was involved in the alleged constitutional violation. The complaint alleges



                                           18
  Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 19 of 20 PageID #:417




that Gutierrez “had final decision making authority to discipline and transfer

[Galvan] and other police officers under his vast command.” [31] ¶ 141. But the

relevant question in a Monell claim is not who makes decisions but who makes policy;

that is, who has authority to “adopt rules for the conduct of government.” Waters v.

City of Chicago, 580 F.3d 575, 582 (7th Cir. 2009). Identifying an official who merely

has “authority to implement pre-existing rules” is not enough. Id. (cleaned up); see

also Auriemma v. Rice, 957 F.2d 397, 401 (7th Cir. 1992) (“Authority to make a final

decision need not imply authority to establish rules.”). Galvan has pleaded no facts

that allow the inference that Gutierrez or any other individual defendant had

authority to make policy during the relevant period, and indeed the Seventh Circuit

has found that even higher-ranking members of the Department are not final

policymakers. See, e.g., Auriemma, 957 F.2d at 401 (Chicago police superintendent

“had no power to countermand the statutes regulating the operation of the

department” and was therefore not final policymaker). Galvan has thus not alleged

facts that could support Monell liability under 42 U.S.C. § 1983.

      D.     Illinois Whistleblower Act and Defamation

      Finally, Galvan brings state-law claims for defamation and under the Illinois

Whistleblower Act. Because Galvan is a citizen of Illinois, the Court’s jurisdiction

over these state-law claims relies on the supplemental jurisdiction granted by 28

U.S.C. § 1367. [31] ¶¶ 1, 13. But, as discussed above, the Court dismisses all federal

claims. And because the Court dismisses all claims over which it has original

jurisdiction, the Court declines to exercise supplemental jurisdiction over these

remaining state-law claims. 28 U.S.C. § 1367(c)(3).
                                         19
  Case: 1:24-cv-03854 Document #: 68 Filed: 07/01/25 Page 20 of 20 PageID #:418




IV.   Conclusion

      For the foregoing reasons, defendants’ motion to dismiss [39] is granted.

Galvan’s complaint is dismissed without prejudice.

      Galvan may refile an amended complaint if she can cure the deficiencies

identified above while still complying with her obligations under Federal Rule of Civil

Procedure 11. See Runnion ex rel. Runnion v. Girl Scouts of Greater Chicago & Nw.

Indiana, 786 F.3d 510, 519–20 (7th Cir. 2015) (“Unless it is certain from the face of

the complaint that any amendment would be futile or otherwise unwarranted, the

district court should grant leave to amend after granting a motion to dismiss.”). Any

amended complaint is due on or before 7/22/25. If plaintiff does not submit an

amended complaint by 7/22/25, the dismissal will automatically convert to a dismissal

with prejudice, and the case will be terminated.



                                               ___________________________
                                               Georgia N. Alexakis
                                               United States District Judge
Date: 7/1/25




                                          20
